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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

YUSUF KALYANGO, PH.D.,                            :
                                                  :
               Plaintiff,                         :   Case No. 2:22-cv-2028
                                                  :
       v.                                         :   Chief Judge Algenon L. Marbley
                                                  :
OHIO UNIVESITY et al.,                            :   Magistrate Judge Elizabeth P. Deavers
                                                  :
               Defendants.                        :

                                               ORDER

       Based on the representation to the Court by Counsel that the parties to this lawsuit have

resolved their dispute, the parties agree that the terms of their settlement agreement need not be

placed upon the record at this time, but a Dismissal Order dismissing this case with prejudice

shall be filed no later than August 8, 2024.

       This matter is now terminated by settlement and shall be considered, pursuant to Fed. R.

Civ. P. 41, dismissed without prejudice as to all claims, until the parties file the above-referenced

Dismissal Order dismissing this matter with prejudice, unless the case is reopened for good cause

shown upon proper motion of one or more parties to this action. The Court will retain continuing

jurisdiction over the settlement agreement.

       The Court hereby directs the U.S. District Court Clerk to serve upon all parties notice of

this judgment and its date of Order upon the journal.

       IT IS SO ORDERED.




                                                      JUDGE ALGENON L. MARBLEY
                                                      UNITED STATES DISTRICT COURT
DATED: June 12, 2024
